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   EXHIBIT 24




                                                              Exhibit 24 - 001
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   Custody and Transfer Statistics FY2022
   Fiscal Year 2022 runs from October 1, 2021 to September 30, 2022.


    Office of Field Operations - Dispositions and Transfers


   OFO Monthly Southwest Border Credible Fear Inadmissibles by Disposition

                                                        Oct-       Nov-      Dec-      Jan-      Feb-       Mar-         Apr-
   Disposition                                                                                                                   May-22 Jun-22 Jul-22 Aug-22 Sep-22
                                                        21         21        21        22        22         22           22
   Expedited Removal - Credible Fear
                                                        88         89        795       696       452        657          106         135        157          135            112       150
   (ERCF)1
   Notice to Appear (NTA)2                              2,469 3,049 3,235 1,657 1,719 2,826 7,344 11,662 10,863 13,475 17,456 14,959
   Notice to Appear (NTA) - Person
                                                        0          0         0         0         0          0            0           0          0            0              0         0
   Released
   Notice to Appear (NTA) - Person
                                                        0          0         0         0         0          0            0           0          0            0              0         0
   Detained
   Visa Waiver Program (VWP)-Removal -
                                                        0          0         0         0         0          0            0           0          0            0              0         0
   Limited Review3
   Visa Waiver Program (VWP)-Refusal -
                                                        0          0         0         2         0          0            1           0          0            0              0         2
   Limited Review3
   Stowaway - Limited Review3                           1          0         0         0         0          0            0           0          0            0              0         0
   Total Credible Fear Inadmissibles                    2,392 2,946 3,804 2,263 2,029 3,259 7,109 11,326 10,627 13,395 17,296 14,892

   Title 8 Inadmissibles

   Field Office Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22 Apr-22 May-22 Jun-22 Jul-22 Aug-22 Sep-22
   El Paso         232      532       522       608       584          856       1,278     1,474        1,626        1,823       1,775         1,439
   Laredo          575      1,007     1,213     1,513 1,648 2,024 5,800                    6,058        6,376        8,378       11,270 8.470
   San Diego       2,879 3,575        4,272     2,357 2,019 5,610 22,256 6,219                          4,787        5,337       6,387         7,109
   Tucson          201      379       333       329       318          502       697       838          757          840         851           1,152
   Total           3,887 5,493        6,340     4,807 4,569 8,992 30,031 14,589 13,546 16,378 20,283 18,170

   OFO Monthly Southwest Border Credible Fear Inadmissibles by Program

                                                                                                Oct- Nov- Dec- Jan- Feb- Mar- Apr- May- Jun- Jul- Aug- Sep-
                                                                                                21 21 21 22 22 22 22 22 22 22 22 22
   Migrant Protection Protocols (MPP)- Initial returns                                           0      0       0         0      0         0        0    0         0         0    0       0
   Asylum Cooperative Agreement (ACA) Program - Expedited
                                                                                                 0      0       0         0      0         0        0    0         0         0    0       0
   Removal - Credible Fear (ERCF)
   ACA - Notice to Appear (NTA)                                                                  0      0       0         0      0         0        0    0         0         0    0       0
   Humanitarian Asylum Review Process (HARP) Program -Expedited
                                                                0                                       0       0         0      0         0        0    0         0         0    0       0
   Removal - Credible Fear (ERCF)
   HARP - Notice to Appear                                                                       0      0       0         0      0         0        0    0         0         0    0       0

   OFO Monthly Southwest Border Credible Fear by Transfer Destination

   Destination                         Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22 Apr-22 May-22 Jun-22 July-22 Aug-22 Sep-22
   Federal/State/Local Facility 30               32           34        15       21        21          34           24          36         48           76             55
   ICE/ERO                              2,268 2,681           3,186     1,638 1,296 2,324 2,654 5,105                           3,822 3,899             584            947
                                                                                                                                                                 Exhibit 24 - 002
https://www.cbp.gov/node/374051/printable/print                                                                                                                                               1/5
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   Destination                             Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22 Apr-22 May-22 Jun-22 July-22 Aug-22 Sep-22
   ICE/HSI                                  1        0     2       1         0       0      0        2          0       2        0          0
   OFO                                      0        0     0       0         0       0      0        0          0       0        0          0
   Return to Foreign                        0        0     0       0         0       0      0        0          0       0        0          0
   USBP                                     18       45    31      22        37      51     40       44         76      69       79         93
   Total                                    2,317 2,758    3,253   1,676 1,354 2,396 2,728 5,175                3,934 4,018      739        1,095


   1Includes subjects who indicated a desire to seek asylum or a fear of persecution in Office of Field Operations’ (OFO) custody at a port of
   entry. OFO refers all such claims to USCIS for a credible fear interview. Credible fear may be claimed at any time prior to removal.
   2 This number reflects instances where OFO exercises its discretion and issues a Notice to Appear (NTA) to initiate removal proceedings
   before an immigration judge. This does not include NTAs issued at the discretion of other DHS components with authority to issue NTAs. In
   the event of being processed for removal with an NTA, individuals have up to one year to seek asylum while in proceedings before the
   immigration judge.
   3The term "limited review" refers to the process of an immigration judge considering claims of US citizenship, Lawful Permanent
   Residence, Asylum or Refugee status.

       Office of Field Operations - In Custody


   Field Operations - Southwest Border In Custody1

   Detention
             Oct-21              Nov-21          Dec-21   Jan-22   Feb-22         Mar-22   Apr-22        May-22      Jun-22     Jul-22       Aug-22         Sep-22
   Capacity
   In
   Custody 935                    935            935      935          935        935      935            935        935        902             902         902
   Capacity
                    123      138       306      289      194      229      325      325      191      164      131      168
   %
                    (13.2%)2 (14.76%)2 (32.8%)2 (30.9%)2 (20.8%)2 (24.5%)2 (34.8%)2 (34.8%)2 (20.4%)2 (18.1%)2 (14.5%)2 (18.6%)2


   1 Represents an estimate of each cell's coded occupancy limit, as outlined in technical design standards when constructed, multiplied by
   the total number of cells for all ports of entry within each field office. This number does not account for the unique circumstances that may
   limit the occupancy of a given cell (e.g., high risk, nursing/pregnant, transgender, unaccompanied minor, etc.) nor does it reflect operational
   limitations that affect a port's capacity to detain. CBP’s capacity to detain individuals in its short-term facilities depends on many factors,
   including: demographics of the individual in custody; medical or other needs of individuals in custody; ability of ICE ERO (or, if an
   unaccompanied child, the U.S. Department of Health and Human Services) to transfer individuals out of CBP custody; and OFO's available
   resources to safely process and hold individuals.

   2 Represents the average number of travelers in custody on a daily basis averaged over the 30-day period, at all Southwest Border Field
   Office locations. Travelers include inadmissible individuals, lawful permanent residents, asylees, refugees, and United States Citizens who
   are being detained to verify wants, warrants, criminal, administrative or other judicial process.

       Office of Field Operations - Title 8, 19 and 42


   OFO Southwest Border T8, T19, T42

   Category Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22 Apr-22 May-22 Jun-22 Jul-22 Aug-22 Sep-22
   Title 8         3,887 5,493          6,340     4,807 4,569 8,992 30,031 14,589 13,546 16,378 20,283 18,170
   Title 19        8,429 12,128 9,158             4,920 3,727 2,865 2,647          1,426   1,233    1,299       1,199   747
   Title 42        1,837 2,337          2,311     2,190 2,271 2,401 2,250          2,177   1,889    1,950       2,030   1,780

       U.S. Border Patrol - Dispositions and Transfers


   USBP Monthly Southwest Border Encounters by Processing Disposition

   The processing disposition decision related to each apprehension is made on a case-by-case basis. As dispositions are subject to change
   throughout the process, the data below does not necessarily reflect final dispositions or removals in all cases.

   Processing Disposition Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22                              Apr-22     May-22 Jun-22 Jul-22            Aug-22 Sep-22
   Notice To Appear/Own
                          17,757 34,705 33,439 30,069 27,711 31,860                              22,523     22,175      20,525 26,547        33,899     9,766
   Recognizance (NTA-OR)
                                                                                                                                         Exhibit 24 - 003
https://www.cbp.gov/node/374051/printable/print                                                                                                                      2/5
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   Processing Disposition             Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22          Apr-22     May-22 Jun-22 Jul-22            Aug-22 Sep-22
   Parole +    ATD1                   9,938    5,683   18,193 13,401 8,598     24,714    39,918     51,481   40,148 39,877           31,090     95,191
   Notice to Report (NTR)             0        0       0       0       0       0         0          0        0           0           0          0
   Expedited Removal (ER)             12,644 8,515     5,572   3,655   3,854   6,033     12,391     15,044   10,075 10,211           13,476     9,382
   Reinstatement of Prior
                                      1,891    1,923   1,842   1,684   1,914   2,666     3,555      2,781    2,467       2,419       2,321      2,179
   Order of Removal
   Warrant of Arrest/Notice
                                      21,060 25,575 28,567 18,380 22,572 31,862          22,356     23,561   20,988 21,834           24,120     14,476
   To Appear - (Detained)
   Voluntary Return                   2,400    2,228   2,082   2,256   2,706   3,041     2,782      2,504    2,038       1,760       2,064      2,069
   MPP                                0        16      96      132     284     680       794        1,096    1,061       1,264       151        0
   Other2                             737      520     969     775     649     645       861        2,131    2,306       2,166       1,974      2,062
   Total Title 8
                                      66,427 79,165 90,760 70,352 68,288 101,501 105,180 120,773 99,608 106,078 109,095 135,125
   Apprehensions


   1Subjects   enrolled in multiple programs are only counted once based on the following order: PACR, ACA, HARP, MPP
   2Processingdispositions may include subjects that do not yet have a final disposition at the time the data was collected or subjects
   processed under the visa waiver program, turned over to, paroled, etc.


   USBP Monthly Southwest Border Apprehensions by Transfer Destination

   Following processing, U.S. Border Patrol arranges transfer of individuals to the appropriate entity based on disposition and other factors
   such as criminal charges. The transfer destinations below are representative of the time data was aggregated. The data does not reflect
   subsequent transfer destinations after subjects leave Border Patrol custody and are subject to change if an individual returns to U.S.
   Border Patrol custody during the same event.

   Transfer Destination               Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22          Apr-22     May-22 Jun-22 Jul-22            Aug-22 Sep-22
   Humanitarian Release               17,634 34,492 32,937 29,774 27,254 31,340          21,557     21,167   19,448 25,571           33,619     9,240
   Federal1                           40,760 39,068 47,918 34,029 34,832 57,954          68,617     77,355   61,941 59,882           54,080     61,751
   Federal - Northern
   Triangle Repatriation              1,936    1,715   730     413     669     907       570        1,894    896         633         384        479
   Flights
   Federal - Mexican
                                      673      307     770     193     155     179       250        160      995         488         163        125
   Repatriation Flights
   Port of Entry (Non-MPP)            2,852    2,846   2,570   2,949   3,813   5,537     6,466      7,432    5,690       4,921       4,899      4,479
   Port of Entry (MPP)                0        33      217     321     708     1,149     1,698      2,089    2,124       2,190       371        0
   State and Local Law
                                      919      498     1,839   884     566     2,405     3,889      9,185    7,373       11,218      15,232     16,771
   Enforcement Agencies
   Other2                             1,653    205     3,779   1,789   291     2,028     2,131      1,491    1,141       1,175       345        38,868
   Total Title 8 Transfers            66,427 79,164 90,760 70,352 68,288 101,499 105,178 120,773 99,608 106,078 109,093 131,713

   1Manifestedas turned over to other Federal agencies, to include Immigration and Customs Enforcement, Health and Human Services,
   U.S. Marshals, etc.
   2Includes subjects that have not been transferred out of USBP custody at the time the data was collected or subjects manifested as
   transferred to hospital, paroled, etc.

    U.S. Border Patrol - In Custody


   USBP Average Daily Subjects In Custody by Southwest Border Sector

   U.S. Border Patrol facilities, such as stations and central processing centers, provide short-term holding capacity for the processing and
   transfer of individuals encountered by agents. Maximum facility capacity along the Southwest border is approximately 5,600, which
   assumes a homogenous population and full operating status at all facilities. Actual capacity fluctuates constantly based on characteristics
   of in-custody population, to include demographics, gender, criminality, etc.

   Sector         Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22 Apr-22 May-22 Jun-22 Jul-22 Aug-22 Sep-22
   Big Bend        23       38         42      26      20      27      54      33       27     24       24       18
   Del Rio         839      1,298      1,810   1,592 1,180 2,054       1,436   1,226    1,092 1,501 1,662        1,442
                                                                                                                                 Exhibit 24 - 004
https://www.cbp.gov/node/374051/printable/print                                                                                                          3/5
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   Sector        Oct-21 Nov-21 Dec-21 Jan-22 Feb-22 Mar-22 Apr-22 May-22 Jun-22 Jul-22 Aug-22 Sep-22
   El Centro      290      361     417     313     264      355      256      453      373     503     517      463
   El Paso        548      768     1,865   1,598 1,149 1,395         2,212    2,374    1,262 853       1,636    3,111
   Laredo         372      697     839     782     599      939      1,092    1,050    833     774     867      743
   Rio Grande 2,572 3,495          3,417   1,975 2,376 3,285         2,238    2,917    3,422 2,914 1,896        2,846
   San Diego      465      665     1,180   678     555      910      670      739      390     681     804      1,047
   Tucson         456      539     523     352     300      693      629      825      451     462     750      804
   Yuma           1,571 1,521      2,356   1,488 1,014 2,121         1,779    2,322    1,381 1,518 1,477        1,386
   Total          7,136 9,382      12,449 8,803 7,457 11,780 10,365 11,938 9,230 9,229 9,634                    11,861

    SPP Program Overview


   USBP Southwest Border SPP Program Apprehensions Since Program Inception

   Apprehension Data includes Deportable Migrants Only

   Data Source: EID through BPERT (Unofficial) as of 10/14/2022

   SPP Program SPP Program Type Inception Date Apprehensions Since Inception
   MPP                  NTA Program         1/28/2019                    82,248
   ENV               Removal Modality        8/5/2019                    37,049
   PACR                 ER Program          10/7/2019                      3,079
   HARP                 ER Program          10/28/2019                     585
   ACA_GUAT             ER Program          11/19/2019                     1,484
   IRI/IFP           Removal Modality       12/19/2019                   13,776

    Pathways and Programs Definitions


   Migrant Protection Protocols (MPP)
   The Migrant Protection Protocols (MPP) is an exercise of the Department of Homeland Security’s express statutory authority under the
   Immigration and Nationality Act (INA) to return certain applicants for admission, or those who enter illegally between the ports of entry, who
   are subject to removal proceedings under INA Section 240 Removal Proceedings to Mexico pending removal proceedings.


   Prompt Asylum Claim Review (PACR)

   The Prompt Asylum Claim Review (PACR) pathway was developed by U.S. Border Patrol (USBP), in coordination with U.S. Immigration
   and Customs Enforcement (ICE), U.S. Citizenship and Immigration Services (USCIS), and the Executive Office for Immigration Review
   (EOIR) to promptly address credible fear claims of amenable individuals.


   Asylum Cooperative Agreement (ACA)

   U.S. Customs and Border Protection (CBP), in coordination with U.S. Immigration and Customs Enforcement (ICE) Enforcement Removal
   Operations (ERO), and U.S. Citizenship and Immigration Services (USCIS), have executed Asylum Cooperative Agreements (ACAs) to
   facilitate the transfer of individuals to a third country where they will have access to full and fair procedures for determining their protection
   claims, based on the ACAs.


   Humanitarian Asylum Review Process (HARP)

   The Humanitarian Asylum Review Process (HARP), was developed by U.S. Customs and Border Protection (CBP), in coordination with
   U.S. Immigration and Customs Enforcement (ICE), U.S. Citizenship and Immigration Services (USCIS), and the Executive Office for
   Immigration Review (EOIR) to promptly address credible fear claims of amenable Mexican nationals.


   Electronic Nationality Verification

   Under the Electronic Nationality Verification (ENV) program U.S. Customs and Border Protection (CBP), in coordination with U.S.
   Immigration and Customs Enforcement (ICE) Enforcement and Removal Operations (ERO), remove eligible noncitizens with a final order
                                                                                                                              Exhibit 24 - 005
https://www.cbp.gov/node/374051/printable/print                                                                                                         4/5
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   of removal to their native countries.


   Interior Repatriation Initiative (IRI)
   Under the Interior Repatriation Initiative (IRI), U.S. Customs and Border Protection (CBP), in coordination with U.S. Immigration and
   Customs Enforcement (ICE) Enforcement Removal Operations (ERO) and the Mexican Ministry of the Interior, remove eligible noncitizens
   from Mexico to the interior of Mexico.



   Tags:
   Statistics

   Source URL: https://www.cbp.gov/newsroom/stats/custody-and-transfer-statistics




                                                                                                                  Exhibit 24 - 006
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